Criminal prosecution on charge of issuing checks in violation of the worthless check statute.
The Attorney-General moved to dismiss for the reasons set forth in written motion filed. *Page 385 
The organization of the court below is not made to appear. S. v. Golden,203 N.C. 440, 166 S.E. 311; S. v. McLamb, 214 N.C. 322,199 S.E. 81. No bill of indictment or trial in an inferior court from which defendant appealed, vesting the Superior Court with jurisdiction, is disclosed. S. v. Patterson, 222 N.C. 179, 22 S.E.2d 267. There is no verdict in the record. Riggan v. Harrison, 203 N.C. 191, 165 S.E. 358;S. v. Golden, supra. The motion of the Attorney-General to dismiss must be allowed.
Appeal dismissed.